      Case: 1:20-cv-03627 Document #: 1 Filed: 06/19/20 Page 1 of 10 PageID #:1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

KIMBERLY BARNES-STAPLES,                     )
                                             )
               Plaintiff,                    )
                                             )       Case No.
       vs.                                   )
                                             )
EMILY W. MURPHY,                             )
ADMINSTRATOR                                 )
GENERAL SERVICES                             )       JURY DEMAND
ADMINISTRATION,                              )
                                             )
               Defendant.                    )

                                         COMPLAINT

       Plaintiff KIMBERLY BARNES-STAPLES (“Plaintiff” or “Ms. Barnes-Staples”), states

for her complaint against EMILY W. MURPHY, ADMINSTRATOR GENERAL SERVICES

ADMINISTRATION (“Defendant” or “GSA”) as follows:

                                      INTRODUCTION

       1.      Ms. Barnes- Staples has invested 28 years into a career with the General Services

Administration, in which she has regularly earned praise from her supervisors including

consistently receiving the highest annual rating possible. Under her leadership as Portfolio

Information and Valuation Branch Manager, Ms. Barnes-Staples has utilized her impressive

academic background and drastically improved branch performance while managing the 24-

employee branch. In an effort to further advance both her career and the interests of the GSA, Ms.

Barnes-Staples has applied for multiple GS-15 positions, yet has been denied the opportunity each

time due to her status as an African American woman.

       2.      The General Services Administration, Public Building Service, Great Lakes Region

5 has demonstrated a history of favoring Caucasian men and Caucasian women for promotion to

                                                 1
      Case: 1:20-cv-03627 Document #: 1 Filed: 06/19/20 Page 2 of 10 PageID #:2




GS-15 positions to the detriment of African Americans generally with the greatest impact being

on African American women. To manipulate the process to ensure Caucasian candidates are

selected, Region 5 has tailored the interview, hiring, and promotion processes to specific strengths

and experiences of the Caucasian men and Caucasian women competing with Ms. Barnes-Staples

for the position, even when doing so results in a focus on experience and knowledge not included

in the job descriptions.

       3.      In July 2018, Ms. Barnes-Staples applied for a Director position and was denied an

interview on the basis that she lacked the underlying technical knowledge. Less than one year later,

in March of 2019, Ms. Barnes-Staples applied for another Director position in which she did have

the technical knowledge, yet now Region 5 said technical knowledge was not important and the

position went to a Caucasian woman who lacked technical knowledge. The GSA keeps moving

the target depending on the Caucasian candidate it seeks to promote.

       4.      As a result of these events, Ms. Barnes-Staples has suffered substantial loss

including lost wages and interference with her career. Ms. Barnes-Staples has also suffered

emotional distress. Therefore, Ms. Barnes-Staples brings this action for unlawful discrimination

and retaliation in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. 2000e et seq.

                                         THE PARTIES

       5.      Plaintiff Ms. Barnes-Staples is an African-American woman and a citizen of

Illinois. She received her undergraduate degree from Northwestern University, earning a Bachelor

of Science in Communicative Disorders. She went on to earn a Master of Business Administration

from the Stephen M. Ross School of Business at the University of Michigan.

       6.      Emily W. Murphy is the administrator for the General Services Administration.




                                                 2
      Case: 1:20-cv-03627 Document #: 1 Filed: 06/19/20 Page 3 of 10 PageID #:3




       7.      The General Services Administration is an administrative agency of the United

States of America.

       8.      General Services Administration, Public Building Service, Great Lakes Region 5 is

headquartered in Chicago, Illinois.

                                 JURISDICTION AND VENUE

       9.      Jurisdiction is invoked under 28 U.S.C. § 1331 because this case involves federal

questions arising under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.

       10.     Jurisdiction is specifically conferred on this Court by 42 U.S.C. § 2000e-16(c).

       11.     This claim is brought pursuant to 29 C.F.R. § 1614.407(b). More than 180 days

have elapsed since the filing of a complaint with the Equal Employment Opportunity (“EEO”)

with no final action having been undertaken and no appeal having been filed.

       12.     This action properly lies in the Northern District of Illinois, Eastern Division,

pursuant to 28 U.S.C. § 1391 in that, Ms. Barnes-Staples applied and interviewed for the positions

in Chicago, Illinois, which is in the Northern District of Illinois and she works in Chicago, Illinois.

                                               FACTS

       13.     Ms. Barnes-Staples is a GS-14 employee with the General Services Administration,

Public Building Service, Great Lakes Region 5 (“Region 5”). Ms. Barnes-Staples has worked for

the General Services Administration (“GSA”) for 28 years.

       14.     Ms. Barnes Staples’ experience at that GSA includes 10 years as a Lease

Contracting Officer, two years as Judiciary Regional Account Manager, six years as Judiciary

Client Delivery Team Manager, and 10 years as Portfolio Information and Valuation Branch

Manager. Ms. Barnes-Staples’ positions as Lease Contracting Officer, Judiciary Regional Account




                                                  3
         Case: 1:20-cv-03627 Document #: 1 Filed: 06/19/20 Page 4 of 10 PageID #:4




Manager, and Judiciary Client Delivery Team Manager establish extensive experience within the

real estate division at Region 5.

          15.   Ms. Barnes-Staples possesses GS-1170 unlimited Real Property Leasing Warrant

(“1170 warrant”), which is distinct from the GS-1102 warrant (“1102 warrant”). A Real Property

Leasing Warrant is earned through the completion of certain classes and based on experience

directly handling leasing matters. There are various levels of these warrants and Ms. Barnes-

Staples has achieved the highest—the unlimited warrant. This means that Ms. Barnes-Staples has

authority to lease property on behalf of GSA for any amount—there is no limitation. A limited

warrant, on the other hand, limits the holder to transactions with specific monetary thresholds.

          16.   Ms. Barnes-Staples has an impressive academic background, which includes a

Bachelor of Science from Northwestern University, and a Master of Business Administration

(“MBA”) from the Stephen M. Ross School of Business at the University of Michigan. The

Stephen M. Ross School of Business at the University of Michigan is currently ranked the number

four business school in the country for business graduate programs according to U.S. News and

World Report.

          17.   There are currently 11 positions in Region 5 that are at level GS-15 or above. Of

those, only one is held by an African American, and none are held by African American women.

This ratio is not reflective of the overall demographics in Region 5 for positions below the GS-15

level.

          18.   Since 2010, no African American women have obtained positions in Region 5 at

the GS-15 or above level.

          19.   Since 2010, Ms. Barnes-Staples has applied for six positions at the GS-15 level in

Region 5, yet has been denied the promotion in each instance.



                                                 4
      Case: 1:20-cv-03627 Document #: 1 Filed: 06/19/20 Page 5 of 10 PageID #:5




       20.      Since 2010, there have been approximately 11 promotions made to the GS-15 level

or above in Region 5. No African American woman was promoted to the GS-15 level in any of

these instances.

       21.      In July 2018, Ms. Barnes-Staples applied for the GS-15 position of Facilities

Management and Service Program Director, under announcement number 1805026LBMP.

       22.      Ms. Barnes-Staples was denied an interview for the Facilities Management and

Services Program Director position, on the basis that she lacked the necessary technical

experience.

       23.      The Facilities Management and Services Program Director position was awarded

to a candidate who was not an African American woman.

       24.      In March 2019, Ms. Barnes-Staples applied for the GS-15 position of Real Estate

Director under announcement number 1905024LBMP. The Real Estate Director position is a

managerial role, which includes responsibilities for supervising lease contracting officers and

serving as a principal advisor for lease administration matters.

       25.      Ms. Barnes-Staples was deemed qualified by human resources and was permitted

to interview for the position.

       26.      At the time she applied for the Real Estate Director position, Ms. Barnes-Staples

was not working within the real estate division though she had for 16 years in the past.

       27.      Ms. Barnes-Staples MBA provided her with extensive education on management

principles and her experience managing for both the GSA and her prior employers made her well

qualified for a managerial position.

       28.      Sherly Wittstock also applied for the Real Estate Director position. Ms. Wittstock

is Caucasian.



                                                 5
      Case: 1:20-cv-03627 Document #: 1 Filed: 06/19/20 Page 6 of 10 PageID #:6




           29.   At the time she applied for the Real Estate Director position, Ms. Wittstock was

working within the real estate division.

           30.   Ms. Wittstock was also deemed qualified by human resources and permitted to

interview for the position, in spite of her lack of substantive experience.

           31.   Ms. Wittstock lacks an 1170 warrant.

           32.   Ms. Wittstock lacks any experience drafting leases.

           33.   Ms. Wittstock lacks the experience and technical knowledge of a lease contracting

officer.

           34.   Ms. Wittstock does not possess any degree related to business, management, or

accounting. Ms. Wittstock studied art history at Northern Illinois University and received a

Bachelor of Arts. Ms. Wittstock does not possess a graduate degree.

           35.   When conducting first level interviews for the Real Estate Director position, the

interview panel afforded no consideration to the disparate educational qualifications between Ms.

Barnes-Staples and Ms. Wittstock.

           36.   When conducting first level interviews for the Real Estate Director position, the

interview panel afforded no consideration to the disparate warrants possessed by Ms. Barnes-

Staples and Ms. Wittstock. Ms. Barnes-Staples was selected to advance to the second round of

interviews along with four of the five candidates interviewing for the position.

           37.   When conducting second level interviews for the Real Estate Director position, the

interview panel afforded no consideration to the disparate warrants possessed by Ms. Barnes-

Staples and Ms. Wittstock.

           38.   The second level interview questions for the Real Estate Director position made

Ms. Wittstock’s selection over Ms. Barnes-Staples a foregone conclusion. Rather than discuss



                                                  6
      Case: 1:20-cv-03627 Document #: 1 Filed: 06/19/20 Page 7 of 10 PageID #:7




qualifications for the position based on the job description, questions focused on specific issues in

the division which were not listed as job requirements but which gave the Caucasian applicant an

advantage as she was currently working in the division.

          39.   Ms. Barnes-Staples was the most qualified candidate for the Real Estate Director

position and was uniquely more qualified for the position than Ms. Wittstock, who was ultimately

selected for the role. Ms. Barnes-Staples had a superior educational background in a more relevant

area, superior technical knowledge and experience fulfilling the role of lease contracting officer

that she would be supervising, and possessed an 1170 warrant.

          40.   Ms. Barnes-Staples was initially informed that the basis for selecting Ms. Wittstock

for the Real Estate Director position was Ms. Wittstock has demonstrated a “superior vision” for

the division. After Ms. Barnes-Staples filed her clam of discrimination, the GSA began adding to

the explanation, now claiming the reason was her vision and experience meeting the knowledge,

skills, and abilities required for the Real Estate Director Position.

          41.   Region 5 is so well known for not promoting minority applicants at GS-15 and

above that minority applicants working in Region 5 who have been passed over for such

promotions have sought career advancement by applying in other Regions and by doing so have

been promoted.

              COUNT I – Violation of Title VII of the Civil Rights Act of 1964,
  42 U.S.C. § 2000e et seq., for Discrimination Based on Sex, Race, and/or National Origin

          42.   Ms. Barnes-Staples repeats and reasserts paragraphs 1 through 41 as if fully restated

herein.

          43.   Title VII of the Civil Rights Act provides that “[i]t shall be an unlawful employment

practice for an employer…to discriminate against any individual with respect to his [or her]




                                                  7
      Case: 1:20-cv-03627 Document #: 1 Filed: 06/19/20 Page 8 of 10 PageID #:8




compensation, terms, conditions, or privileges of employment, because of such individual’s race,

color, religion, sex, or national origin.” 42 U.S.C. § 2000e-2(a)

        44.    Ms. Barnes-Staples status as an African America makes her a member of a

protected class.

        45.    The GSA is an employer as defined under Title VII.

        46.    Ms. Barnes-Staples met the qualifications for the Real Estate Director position, as

demonstrated by her being allowed to interview and her advancing to the second round of

interviews.

        47.    Ms. Barnes was not awarded the Real Estate Director position. Instead, the position

went to Ms. Wittstock, who is not a member of the protected class.

        48.    Ms. Barnes-Staples was the more qualified candidate, possessing a superior and

more relevant educational background, more relevant departmental experience, and a 1170

warrant.

        49.    GSA’s basis for selecting Ms. Wittstock for the Real Estate Director position was

pretextual and designed to exclude African Americans and African American women from GS-15

positions.

        50.    The inference of discriminatory intent can be drawn here. When Ms. Barnes-Staples

lacks experience, experience is required. When Ms. Barnes-Staples possesses experience, it is

irrelevant.

        51.    The GSA discriminated against Ms. Barnes-Staples by failing to promote her to the

GS-15 Real Estate Director position instead awarding the position to a less qualified candidate

from outside the protected class based upon her race, her sex, or any combination of sex, race, and

other protected classes.



                                                 8
      Case: 1:20-cv-03627 Document #: 1 Filed: 06/19/20 Page 9 of 10 PageID #:9




        WHEREFORE Plaintiff Kimberly Barnes-Staples respectfully requests the entry of

judgment in her favor and against Defendants as follows:

        A. An award of damages for back pay, front pay, and other equitable relief including, but

              not limited to promotion to a GS-15 position;

        B. An award of compensatory damages in an amount to be proven at trial;

        C. Liquidated damages;

        D. An award of prejudgment interest;

        E. An award to Plaintiff for reasonable attorneys’ fees and costs; and

        F. All other relief this Court deems just.

                COUNT II – Violation of Title VII of the Civil Rights Act of 1964,
                          42 U.S.C. § 2000e et seq., for Retaliation

        52.      Ms. Barnes-Staples repeats and reasserts the allegations of paragraphs 1 through 51

as if fully restated herein.

        53.      Ms. Barnes-Staples engaged in activity protected by Title VII when in August 2018

she filed an EEO complaint against the GSA.

        54.      As a result of Ms. Barnes-Staples reports of discrimination based upon her race, her

sex, or any combination of sex, race , the GSA acted in a materially adverse fashion to deny Ms.

Barnes-Staples the Real Estate Director position for which she was qualified. Further, the second

level interview was conducted in a manner to make it impossible for Ms. Barnes-Staples to be

selected and to ensure the selection of a Caucasian candidate.

        WHEREFORE Plaintiff Kimberly Barnes-Staples respectfully requests the entry of

judgment in her favor and against Defendants as follows:

              A. An award of damages for back pay, front pay, and other equitable relief including,

                 but not limited to promotion to a GS-15 position;

                                                  9
    Case: 1:20-cv-03627 Document #: 1 Filed: 06/19/20 Page 10 of 10 PageID #:10




          B. An award of compensatory damages in an amount to be proven at trial;

          C. Liquidated damages;

          D. An award of prejudgment interest;

          E. An award to Plaintiff for reasonable attorneys’ fees and costs; and

          F. All other relief this Court deems just.

      Plaintiff demands trial by jury on all issues so triable.

                                                             Respectfully submitted,

Dated: June 19, 2020                                         KIMBERLY BARNES-STAPLES

                                                             /s/ Ruth I. Major_________________
                                                              One of Her Attorneys

Ruth I. Major (ARDC No. 6205049)
Keith Barnstein (ARDC No. 6299044)
The Law Offices of Ruth I. Major P.C.
70 W. Madison, Suite 20200
Chicago, Illinois 60603
Tel: (312) 893-7544
Fax: (312) 698-9867
rmajor@major-law.com
kbarnstein@major-law.com




                                                10
